                     IN THE UNITED STATES DISTRICT COURT              . "I ·n
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                    FOR THE NORTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION          2021 NOV - ~ /S) 12= b
LILLIAN AKWUBA,

                Movant
                                               No. 2: 17 CR 00511-SLB-GMB-1
vs.
                                                     EMERGENCY MOTION
UNITED STATES OF AMERICA,                            FOR RE-SENTENCING

                Respondent



      COMES NOW, Lillian Akwuba (movant and pro se prisoner) and moves

this Court for a re-sentencing hearing.        In support of this motion, Akwuba

presents:

      1) This case has been REVERSED in part and REMANDED by the

            Appeal Court [USCAll Case 19-12230, filed 08/11/2021] See Exhibit

            A

      2) The appeal court noted :

                a. " ... the district court was unquestionably wrong to instruct the

                  jury that the parties stipulated to something that they did not

                   stipulate to." [USCAl 1, Opinion, page 20 of 32] . See Exhibit A

      Movant requests permission to submit a pro se brief, prior to the re-

sentencing, on the issue of "something [she) did not stipulate to", and how it

affected her sentence.




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      WHEREFORE, movant prays that this court GRANT this motion and

schedule a re-sentencing and grant any other relief movant is entitled to under

the law.

      Respectfully submitted this ~       day of   No Je.w-ke_r            2021.




                                      Lillian Akwuba # 17368-002
                                      Pro Se Prisoner
                                      Federal Correctional Institution-Aliceville
                                      Satellite Prison Camp-Aliceville
                                      P. 0 . Box 487
                                      Aliceville, AL 35442




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                            CERTIFICATE OF SERVICE

      I have this day served Government counsel by U.S Mail with sufficient

postage for first class delivery to:


                        Bill G. Bodiford, Asst. U.S. Attorney
                                U.S. Attorney's Office
                                 131 Clayton Street
                               Montgomery, AL 36104


            a.J
      This _'..J
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                                            -
                                                     2021 .




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